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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION


 AARON JEWAN ROBINSON,

               Plaintiff,                                CIVIL ACTION NO.: 6:19-cv-53

        v.

 JAVAKA JOHNSON; and CO HUGGINS,

               Defendants.


                                          ORDER

       After an independent and de novo review of the entire record, the Court concurs with the

Magistrate Judge’s Report and Recommendation. (Doc. 70.) Plaintiff did not file Objections;

however, he filed a Response, in which he states he “does not dispute anything the [Magistrate]

Judge recommended” and “accept[s] the [Magistrate Judge’s] Report[] and Recommendation[].”

(Doc. 72, p. 1.) Thus, the Court ADOPTS the Magistrate Judge’s Report and Recommendation

as the opinion of the Court, GRANTS Defendants’ Motion for Partial Summary Judgment, and

DENIES Plaintiff in forma pauperis status on appeal. Plaintiff’s claims for punitive and nominal

damages remain pending.

       SO ORDERED, this 15th day of November, 2021.




                                     R. STAN BAKER
                                     UNITED STATES DISTRICT JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
